     Case 1:21-mc-00105-ABJ-RMM Document 10 Filed 03/22/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 IN RE APPLICATION PISHEVAR FOR AN                            Case No. 1:21-mc-00105-ABJ-RMM
 ORDER TO TAKE DISCOVERY FOR USE IN
 FOREIGN PROCEEDINGS PURSUANT TO 28
 U.S.C. § 1782


                                APPEARANCE OF COUNSEL

       To the clerk of the court and all parties of record:

       I am admitted or otherwise authorized to practice in this court, and I appear in this case

as counsel for respondent Bean LLC d/b/a Fusion GPS.



Date: March 22, 2023                                  /s/ Rachel M. Clattenburg

                                              Rachel M. Clattenburg (D.C. Bar No. 1018164)
                                              LEVY FIRESTONE MUSE LLP
                                              900 17th St. NW, Suite 1200
                                              Washington, DC 20006
                                              Tel: (202) 845-3215
                                              Fax: (202) 595-8253
                                              rmc@levyfirestone.com

                                              Counsel for Fusion GPS
